   Case 2:15-cr-00550-MCA Document 20 Filed 04/15/15 Page 1 of 3 PageID: 121




                                UNITED ST ATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY

UNITED ST ATES OF AMERICA                                Hon. Mark Falk

                  v.
                                                         Mag. No. 14-3 746
RICHARD ADEBA YO and
AMOS PETER AGI3AJAlfE
                                                         ORDER FOR CONTINUANCE


                  This matter having come before the Court on the joint application of Paul J.

Fishman. United States Attorney for the District of New Jersey (Barry A. Kamar, Assistant U.S.

Attorney. appearing). and defendant     Richar~bayo       (Michael Dalessio, Esq .• appearing). for an

order granting a continuance of the proceedings in the above-captioned matter until June 19, 2015,

to permit defense counsel the reasonable time necessary for dTe<.:live preparation in this matter and

to allow the parties to conduct plea negotiations and attempt to finalize a plea agreement. and three

prior continuances having been entered. and the defendant being aware that the <lefcnc.lant has the

right to have the matter submitted to a grand jury within thirty days of the date of the defendant=s

arrest. pursuant to Title 18. United States Code, Section 3161 (b}, and the defendant having

consented to the continuance and waiwd such right, and for good cause shown.

                  IT IS THE FINOlNU OF THIS COURT that this action should be continued for the

following reasons:

                  (I)    Taking into account the exercise of diligence. the facts of this case require

that defense counsel be permitted a reasonable amount of additional time for effective preparation

in this matter;
      Case 2:15-cr-00550-MCA Document 20 Filed 04/15/15 Page 2 of 3 PageID: 122




                    (2) Both the United States and the defendant desire additional time to negotiate a

     plea agreement. which would render any grand jury proceedings and any subsequent trial of this

     matter unnecessary; and

                     (3) As a result of the   f'or~going.   pursuant to Title 18. United States Code. Section

     316 l(h)( 7). the ends of justice served by granting the continuance outweigh the best interest of the

     public and the defomlant in a speedy trial.

                    IT IS. therefore. on this }?:ay of April. 2015,

                    ORDERED that this action he. and hereby is. continued from the date this order is

     signed through and including June 19. 2015; and it is further

                    ORDERED that the period from the date this order is signed through and including

·'                                                                                 .
     June 19. 2015, shall he excludablc in computing time under the Speedv Trial Act of 1974.




                                                                HON. MARK FALK
                                                                United States Magistrate Judge
,.




                                                            2
   Case 2:15-cr-00550-MCA Document 20 Filed 04/15/15 Page 3 of 3 PageID: 123




· Form and entry




.::o~'l;;;::
 Barry A. Kamar
 Assistant U.S. Attorney




                                     3
